            Case 3:16-cv-00980-SI       Document 67        Filed 08/24/17     Page 1 of 33



1
     Jennifer Pafiti (SBN 282790)
     POMERANTZ LLP
2    468 North Camden Drive
     Beverly Hills, CA 90210 Telephone: (818) 532-6449
3    Email: jpafiti@pomlaw.com
4
     Jeremy A. Lieberman
5    Matthew L. Tuccillo
     POMERANTZ LLP
6    600 Third Avenue, 20th Floor
7
     New York, New York 10016
     Telephone: (212) 661-1100
8    Facsimile: (212) 661-8665
     Email: jalieberman@pomlaw.com
9           mltuccillo@pomlaw.com
10
     Counsel for Plaintiffs and
11   Proposed Lead Counsel for the Settlement Class
     [Additional Counsel Listed on Signature Page]
12

13
                                    UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION
15                                                       Case No. 3:16-cv-00980-SI
       WILLIAM MONACHELLI and RANDALL
16
       A. ARVIDSON, Individually and on Behalf of        PLAINTIFFS’ NOTICE OF
17     All Others Similarly Situated,                    MOTION AND MOTION FOR
                                                         FINAL APPROVAL OF
18                                     Plaintiffs,       SETTLEMENT, CLASS
                                                         CERTIFICATION AND PLAN
19
               v.                                        OF ALLOCATION AND
20                                                       MEMORANDUM OF POINTS AND
       HORTONWORKS, INC., ROBERT G.                      AUTHORITIES
21     BEARDEN, and SCOTT J. DAVIDSON,
                                                         Date: September 22, 2017
22
                                     Defendants.         Time: 10:00 a.m.
23                                                       Place: Courtroom 1, 17 th Floor
                                                         Judge: Hon. Susan Illston
24

25

26

27

28

                                              i
                     MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                           PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI        Document 67        Filed 08/24/17      Page 2 of 33



1           PLEASE TAKE NOTICE that, pursuant to the Court’s Order Granting Preliminary
2    Approval of Settlement (Dkt. No. 66) issued on June 12, 2017 (“Preliminary Approval Order”),
3
     on September 22, 2017, at 10:00 a.m., or as soon thereafter as the matter may be heard, at the
4
     United States Court, Northern District of California, Courtroom 1, 17th Floor, San Francisco
5
     Courthouse, 450 Golden Gate Avenue, San Francisco, CA, 94102, before the Honorable Susan
6
     Illston, Lead Plaintiff Randall A. Arvidson (“Arvidson” or “Lead Plaintiff”) and Plaintiff William
7
     Monachelli (“Monachelli”) (together “Plaintiffs”) will, and hereby do move for an order: (1)
8
     granting final approval of the proposed class action settlement (the “Settlement”) in the above-
9
     captioned action (the “Action”), and (2) dismissing the Claims with prejudice.
10
            The Settlement provides a total Settlement Amount of one million one hundred thousand
11
     dollars ($1,100,000.00) as documented within the Stipulation and Agreement of Settlement dated
12
     March 27, 2017, as revised and re-submitted May 26, 2017 (Dkt. No. 65) (together with its
13
     exhibits the “Stipulation”).1 This Motion is supported by the following materials, including those
14
     submitted herewith: the accompanying Memorandum of Points and Authorities; the Declaration
15
     of Matthew L. Tuccillo, Esq. (“Tuccillo Decl.”); the Declaration of Lead Plaintiff Arvidson
16

17   (“Arvidson Decl.”); the Declaration of Plaintiff Monachelli (“Monachelli Decl.”); the Declaration

18   of Sarah Evans Concerning the Mailing of Notice, Publication of Summary Notice, Exclusion

19   Requests Received and Objections Submitted (“Evans Decl.”); Plaintiffs’ Motion for Award of

20   Attorneys’ Fees, Reimbursement of Expenses, and Compensatory Awards for Plaintiffs and

21   Memorandum of Points and Authorities in Support thereof (the “Fee & Expense Motion”); the

22   Stipulation and all other pleadings and papers filed in this action; and arguments of Lead Counsel
23   at the upcoming final approval hearing.
24          To date, despite the mailing of over 8,285 notices, no objections to the Settlement have
25   been filed and only one Class Member sought to be excluded from the Settlement. See Evans
26

27   1
             All capitalized terms, unless otherwise defined herein, have the same meaning herein as
28   set forth in the Stipulation.

                                               i
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI         Document 67        Filed 08/24/17      Page 3 of 33



1    Decl. ¶¶5, 10-11. The deadline for filing any such objection is September 1, 2017. To the extent
2    any such objections are filed, Lead Counsel Pomerantz LLP (“Pomerantz” or “Lead Counsel”)
3
     will respond to each such filing by September 8, 2017.
4
                             STATEMENT OF ISSUES TO BE DECIDED
5
            1.      Whether the notice program satisfied due process and complied with Fed. R. Civ.
6
     P. 23(e).
7
            2.      Whether the Plan of Allocation is fair, reasonable, and adequate.
8
            3.      Whether the Court should certify the Settlement Class2 and whether the Plaintiffs
9
     and Lead Counsel have adequately represented the Settlement Class.
10
            4.      Whether the Settlement, on the terms and conditions provided for in the Stipulation,
11
     should be finally approved by the Court as fair, reasonable, and adequate.
12
            5.      Whether the Court should permanently enjoin the assertion of any claims that arise
13
     from or relate to the subject matter of the Action as to the Defendants.
14
            6.      Whether the application for an award of attorneys’ fees and reimbursement of out-
15
     of-pocket expenses submitted by Lead Counsel should be approved.
16

17          7.      Whether the application for a compensatory award submitted by Plaintiffs should

18   be approved.

19

20

21

22

23

24

25

26
     2
             The Settlement Class means all Persons, save for those expressly exempted as set forth
27   in the Stipulation, who purchased or otherwise acquired Hortonworks securities during the Class
28   Period of August 5, 2015 through January 15, 2016, dates inclusive.

                                               ii
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
              Case 3:16-cv-00980-SI                    Document 67                Filed 08/24/17               Page 4 of 33



1                                                  TABLE OF CONTENTS
2    I.      INTRODUCTION AND BACKGROUND ..................................................................... 1
3    II.     THE LITIGATION AND SETTLEMENT ...................................................................... 2
4    III.    PRELIMINARY APPROVAL OF SETTLEMENT AND NOTICE ............................... 4
     IV.     THE SETTLEMENT WARRANTS FINAL APPROVAL .............................................. 5
5
             A.        The Standards For Judicial Approval Of Class Action Settlements ..................... 5
6
             B.        A Review Of The Hanlon Factors Demonstrates That The Settlement Is Fair,
7                      Reasonable, And Adequate, And Supports Final Approval ................................. 7
8                      1.         The Overall Strength Of Plaintiffs’ Case, Including The Risk, Expense,
                                  Complexity, And Likely Duration of Further Litigation .......................... 7
9                                 a.         PSLRA Cases Have Significant Obstacles To Success ................ 8
10                                     i.         The Risk Of Establishing Falsity And Scienter ...................... 8
11                                     ii.        The Risk Of Proving Transaction And Loss Causation And
                                                  Damages .................................................................................. 8
12
                                  b.         Continued Litigation Would Be Risky And Expensive ................ 9
13                     2.         The Risks Of Achieving Class Action Status And Maintaining That
                                  Status Throughout Trial .......................................................................... 10
14
                       3.         The Amount Obtained In The Settlement ............................................... 11
15                     4.         The Extent Of Discovery Completed And Stage Of The Proceedings ... 12
16                     5.         Experienced Counsel Negotiated The Settlement In Good Faith And
                                  At Arm’s-Length And Believe It Is Fair, Reasonable, and Adequate .... 14
17
                       6.         The Absence Of A Governmental Participant ........................................ 15
18                     7.         The Overwhelmingly Positive Reaction Of The Settlement Class ......... 15
19                     8.         The Absence Of Collusion Among The Negotiating Parties .................. 16
     V.      NOTICE TO THE SETTLEMENT CLASS SATISFIED DUE PROCESS .................. 16
20
     VI.     THE PLAN OF ALLOCATION IS FAIR, REASONABLE, AND ADEQUATE ........ 17
21
     VII.    SETTLEMENT CLASS CERTIFICATION REMAINS WARRANTED..................... 19
22
             A.        The Settlement Class Satisfies The Requirements of Rule 23(a) ....................... 19
23           B.        The Settlement Class Satisfies the Requirements of Rule 23(b)(3) .................... 22
24   VIII.   CONCLUSION ............................................................................................................... 23
25

26

27

28

                                                    iii
                            MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                                  PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
                Case 3:16-cv-00980-SI                     Document 67               Filed 08/24/17              Page 5 of 33



1                                                   TABLE OF AUTHORITIES
2                                                                                                                                    Page(s)
3
     Cases
4
     Alfus v. Pyramid Tech. Corp.,
5        764 F. Supp. 598 (N.D. Cal. 1991) ....................................................................................... 20
6    Amchem Prods. v. Windsor,
7
       521 U.S. 591 (1997) .............................................................................................................. 20

8    Athale v. Sinotech Energy Ltd., No. 11- CV-05831,
        2013 WL 11310685 (S.D.N.Y. Sept. 4, 2013) ...................................................................... 13
9
     Browne v. Am. Honda Motor Co., No. 09-cv-06750-MMM,
10      2010 WL 9499072 (C.D. Cal. July 29, 2010) ....................................................................... 10
11
     Danis v. USN Commc’ns, Inc.,
12      189 F.R.D. 391 (N.D. Ill. 1999) ............................................................................................ 20

13   Elliott v. Rolling Frito-Lay Sales, LP, No. 11-cv-01730-DOC,
         2014 U.S. Dist. LEXIS 83796 (C.D. Cal. June 12, 2014) .................................................... 14
14

15
     Erica P. John Fund, Inc. v. Halliburton Co.,
         563 U.S. 804, 131 S. Ct. 2179 (2011) ................................................................................... 22
16
     Evans v. Jeff D.,
17      475 U.S. 717 (1986) ................................................................................................................ 5
18
     Gittin v. KCI USA, Inc., No. 09-cv-05843 RS,
19       2011 WL 1467360 (N.D. Cal. Apr. 12, 2011) ...................................................................... 23

20   Glass v. UBS Fin. Servs., Inc., No. 06-cv-4068-MMC,
        2007 WL 221862 (N.D. Cal. Jan. 26, 2007) ......................................................................... 14
21
     Hanlon v. Chrysler Corp.,
22
        150 F.3d 1011 (9th Cir. 1998) ............................................................................ 5, 6, 7, 11, 21
23
     Hanon v. Dataproducts Corp.,
24      976 F.2d 497 (9th Cir. 1992) ................................................................................................ 21
25   Hartless v. Clorox Co.,
        273 F.R.D. 630 (S.D. Cal. 2011) .......................................................................................... 22
26

27   Hodges v. Akeena Solar, Inc.,
        274 F.R.D. 259 (N.D. Cal. 2011) .......................................................................................... 21
28

                                                      iv
                             MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                                   PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
                Case 3:16-cv-00980-SI                   Document 67               Filed 08/24/17            Page 6 of 33



1    Hubbard v. BankAtlantic Bancorp, Inc.,
        688 F.3d 713 (11th Cir. 2012) ................................................................................................ 9
2

3    In re Amgen Sec. Litig., No. 07-cv-2536-PSG,
         2016 U.S. Dist. LEXIS 148577 (C.D. Cal. Oct. 25, 2016) ..................................................... 9
4
     In re Bluetooth Headset Prods. Liab. Litig.,
5        654 F.3d 935 (9th Cir. 2011) ............................................................................................ 6, 16
6
     In re Cooper Cos. Inc. Sec. Litig.,
7        254 F.R.D. 628 (C.D. Cal. 2009) .................................................................................... 21, 22

8    In re Critical Path, Inc. Sec. Litig., No. 01-cv-00551 WHA,
         2002 WL 32627559 (N.D. Cal. June 18, 2002) .................................................................... 13
9
     In re Emulex Corp., Sec. Litig.,
10
         210 F.R.D. 717 (C.D. Cal. 2002) .............................................................................. 20, 21, 22
11
     In re Heritage Bond Litig., No. 02-ML-1475 DT,
12       2005 WL 1594403 (C.D. Cal. June 10, 2005) ........................................................ 7, 9, 14, 19
13   In re Immune Response Sec. Litig.,
         497 F. Supp. 2d 1166 (S.D. Cal. 2007) ................................................................................. 17
14

15   In re Inter-Op Hip Prosthesis Liab. Litig.,
         204 F.R.D. 330 (N.D. Ohio 2001) ........................................................................................ 22
16
     In re LDK Solar Sec. Litig.,
17       255 F.R.D. 519 (N.D. Cal. 2009) .......................................................................................... 22
18
     In re LinkedIn User Privacy Litig.,
19       309 F.R.D. 573 (N.D. Cal. 2015) ...................................................................................... 6, 16

20   In re Mego Fin. Corp. Sec. Litig.,
         213 F.3d 454 (9th Cir. 2000) ................................................................................ 6, 11, 12, 13
21
     In re Mercury Interactive Corp. Sec. Litig.,
22
         618 F.3d 988 (9th Cir. 2010) ................................................................................................ 15
23
     In re Omnivision Techs., Inc.,
24       559 F. Supp. 2d 1036 (N.D. Cal. 2007) ........................................................ 11, 14, 15, 18, 19
25   In re Pac. Enters. Sec. Litig.,
26       47 F.3d 373 (9th Cir. 1995) .................................................................................................. 14

27   In re Portal Software, Inc. Sec. Litig., No. 03-cv-5138-VRW,
         2007 WL 4171201 (N.D. Cal. Nov. 26, 2007) ..................................................................... 17
28

                                                      v
                             MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                                   PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
                Case 3:16-cv-00980-SI                   Document 67              Filed 08/24/17             Page 7 of 33



1    In re Rambus Inc. Derivative Litig., No. 06-cv-3513 JF (HRL),
         2009 WL 166689 (N.D. Cal. Jan. 20, 2009) ......................................................................... 15
2

3    In re Sumitomo Cooper Litig.,
         189 F.R.D. 274 (S.D.N.Y. 1999) ............................................................................................ 7
4
     In re Syncor ERISA Litig.,
5        516 F.3d 1095 (9th Cir. 2008) .......................................................................................... 5, 10
6
     In re TD Ameritrade Account Holder Litig., Nos. C 07-2852 SBA, C 07-4903 SBA,
7        2011 WL 4079226 (N.D. Cal. Sept. 13, 2011) ..................................................................... 13

8    In re UTStarcom Sec. Litig., No. 04-cv-04908 JW,
         2010 WL 1945737 (N.D. Cal. May 12, 2010) .......................................................... 19, 20, 22
9
     In re VeriSign, Inc. Sec. Litig., No. 02-cv-02270-JW,
10
         2005 WL 7877645 (N.D. Cal. Jan. 13, 2005) ................................................................. 20, 21
11
     In re Wireless Facilities, Inc. Sec. Litig.,
12       253 F.R.D. 630 (S.D. Cal. 2008) .......................................................................................... 17
13   Jenson v. Fiserv Trust Co.,
        256 F. App’x 924 (9th Cir. 2007) ......................................................................................... 11
14

15   Lane v. Facebook, Inc.,
        696 F.3d 811 (9th Cir. 2012) .................................................................................................. 5
16
     Lerwill v. Inflight Motion Pictures, Inc.,
17      582 F.2d 507 (9th Cir. 1978) ................................................................................................ 21
18
     Linney v. Cellular Alaska P’ship,
19      151 F.3d 1234 (9th Cir. 1998) .............................................................................................. 13

20   Murillo v. Pac. Gas & Elec. Co.,
       266 F.R.D. 468 (E.D. Cal. 2010) .......................................................................................... 22
21
     Nat’l Rural Telecomms. Coop. v. DirecTV, Inc.,
22
        221 F.R.D. 523 (C.D. Cal. 2004) .................................................................................... 10, 15
23
     Nguyen v. Radient Pharms. Corp., No. 11-cv-00406,
24      2014 WL 1802293 (C.D. Cal. May 6, 2014) ........................................................................ 19
25   Nobles v. MBNA Corp., No. 06-cv-3723-CRB,
26      2009 WL 1854965 (N.D. Cal. June 29, 2009) ........................................................................ 9

27   Officers for Justice v. Civil Serv. Comm’n of City & Cty. of San Francisco,
         688 F.2d 615 (9th Cir. 1982) ........................................................................................ 5, 6, 11
28

                                                      vi
                             MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                                   PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
                Case 3:16-cv-00980-SI                    Document 67               Filed 08/24/17             Page 8 of 33



1    Riker v. Gibbons, No. 08-cv-00115-LRH-VPC,
        2010 WL 4366012 (D. Nev. Oct. 28, 2010) ......................................................................... 18
2

3    Rodriguez v. W. Publ’g Corp.,
        563 F.3d 948 (9th Cir. 2009) ................................................................................................ 17
4
     Torrisi v. Tucson Elec. Power Co.,
5       8 F.3d 1370 (9th Cir. 1993) ................................................................................................ 6, 7
6
     Van Wingerden v. Cadiz, Inc., No. 15-cv-03080-JAK,
7       2017 U.S. Dist. LEXIS 18800 (C.D. Cal. Feb. 8, 2017) ....................................................... 18

8    Vathana v. EverBank, No. 09-cv-02338 RS,
        2010 WL 934219 (N.D. Cal. Mar. 15, 2010) ........................................................................ 22
9
     Wal-Mart Stores, Inc. v. Dukes,
10
        131 S. Ct. 2541 (2011) .......................................................................................................... 11
11
     West v. Circle K Stores, Inc., No. CIV-S-04-0438-WBS-GGH,
12      2006 WL 1652598 (E.D. Cal. June 13, 2006) ...................................................................... 20
13   Yamner v. Boich, No. C-92-20597 RPA,
        1994 WL 514035 (N.D. Cal. Sept. 15, 1994) ....................................................................... 19
14

15   Ybarrondo v. NCO Fin. Sys., Inc., No. 05-cv-2057-L(JMA),
        2009 WL 3612864 (S.D. Cal. Oct. 28, 2009) ....................................................................... 22
16
                                                                   Statutes
17
     Private Securities Litigation Reform Act of 1995, 15 U.S.C. §78u-4 .................................... 8, 17
18

19   Securities Exchange Act of 1934 Section 10(b) ........................................................................... 8

20                                                                   Rules

21   Fed. R. Civ. P. 23 .......................................................................... 5, 11, 16, 17, 19, 20, 21, 22, 23
22

23

24

25

26

27

28

                                                     vii
                             MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                                   PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI          Document 67         Filed 08/24/17      Page 9 of 33



1
        I.       INTRODUCTION AND BACKGROUND
2
             Plaintiffs and Lead Counsel have successfully achieved a Settlement of this difficult
3
     securities class action for a total recovery of one million one hundred thousand dollars
4
     ($1,100,000.00) in cash to resolve the claims that were alleged in this Action as to Settling
5
     Defendants Hortonworks Inc. (“Hortonworks”), Robert G. Bearden (“Bearden”), and Scott J.
6
     Davidson (“Davidson”).
7
             The Settlement is the product of extensive work by Lead Counsel, which included not
8
     only the investigation of claims, preparation of initial and amended complaints, and litigation of
9
     a motion to dismiss, but also, following this Court’s order of dismissal without prejudice, Lead
10
     Counsel’s simultaneous investigation of facts for a second amended complaint and intensive
11
     settlement negotiations with Settling Defendants’ counsel during late December 2016 and early
12
     January 2017. As detailed below, the Settlement is a favorable result for Settlement Class
13
     members, given the immediate financial recovery, on the one hand, and the substantial risk that
14

15
     any further amended complaint might also be dismissed, on the other hand.

16           Having evaluated the facts and applicable law, and recognizing the risks and expense of

17   continued litigation, Plaintiffs and Lead Counsel respectfully submit that the proposed Settlement

18   is in the best interests of the Settlement Class. Before entering into the Settlement, Plaintiffs and

19   Lead Counsel understood the strengths and weaknesses of the claims and defenses and engaged

20   in significant efforts to protect the interests of the Settlement Class, including:
21
            Lead Counsel directed their private investigator to pursue additional investigative work,
22           with a focus on the Court’s concerns articulated in the Dismissal Order.

23          Lead Counsel engaged in telephonic and electronic discussions and negotiations with
             Settling Defendants’ counsel during late December 2016 and early January 2017 that
24
             culminated in an oral agreement-in-principle to settle as of December 29, 2016, and, after
25           exchanges of drafts and redlines, a Memorandum of Understanding was executed on
             January 5, 2017.
26
            Lead Counsel and Settling Defendants Counsel engaged in extensive negotiations –
27
             including frequent telephonic and written correspondence, the exchange of extensive and
28           detailed redline versions – to reach the original Stipulation and Agreement of Settlement,
             along with its accompanying exhibits, executed on March 27, 2017.
                                                1
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI         Document 67       Filed 08/24/17     Page 10 of 33



1
           Lead Counsel and Settling Defendants’ Counsel engaged in additional negotiations to
2           address the Court’s concerns articulated at the preliminary approval hearing, resulting in
            the revised Stipulation and exhibits, re-filed on May 26, 2017 (the “Stipulation”).
3
     Tuccillo Decl. ¶¶10-16, 18, 20-21.
4
            The Settlement Class is defined as “[a]ll Persons who purchased or otherwise acquired
5
     Hortonworks securities during the period of August 5, 2015 through January 15, 2016, both dates
6
     inclusive.” See Stipulation at §IV, ¶1 (bb); Preliminary Approval Order at 4. Excluded are “the
7
     Settling Defendants and their immediate family members; any officer or director of Hortonworks
8
     during the Class Period; any entity in which any Settling Defendant has, or had during the Class
9

10
     Period, a controlling interest; and the heirs, successors-in-interest, or assigns of any excluded

11   person.” Id.

12    II.        THE LITIGATION AND SETTLEMENT
13          On February 29, 2016, Plaintiff Monachelli filed a class action complaint for violation of
14   the federal securities laws against the Settling Defendants (Dkt. No. 1). By Order dated June 1,
15   2016, the Court appointed Arvidson as Lead Plaintiff for the Action and approved Lead Plaintiff’s
16   selection of Pomerantz LLP as Lead Counsel (Dkt. No. 39). Tuccillo Decl. ¶¶5-6.
17          On July 28, 2016, Plaintiffs filed their First Consolidated Amended Complaint (“FAC”)
18   asserting claims against all Defendants under Section 10(b) of the Securities Exchange Act of
19
     1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder, and against Defendants
20
     Bearden and Davidson under Section 20(a) of the Exchange Act (Dkt. No. 42). The FAC alleged,
21
     inter alia, that Defendants unlawfully inflated Hortonworks’ stock price by misleading investors
22
     about the sufficiency of Hortonworks’ cash position and its intent to and need to raise capital
23
     through a dilutive equity offering. The FAC further alleged that the misleading nature of
24
     Defendants’ statements remained hidden until January 15, 2016, when Hortonworks announced
25
     plans for a follow-on public offering of up to $100 million, causing its stock to fall $6.13 per
26
     share, nearly 37%, on exceptionally high volume. The FAC alleged that Defendants’ conduct at
27

28

                                               2
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17    Page 11 of 33



1    issue had inflated Hortonworks’ stock price and that, when the truth was revealed and the stock
2    price fell as a result, investors suffered injury. Tuccillo Decl. ¶¶4, 7.
3
            On September 12, 2016, Defendants filed a motion to dismiss the FAC, supported by a
4
     memorandum of law, declaration, and materials for which they sought judicial notice (Dkt. Nos.
5
     43-45). Plaintiffs opposed said motion and request for judicial notice on October 27, 2016 (Dkt.
6
     Nos. 46-47). Defendants filed their reply, along with an additional declaration and supplemental
7
     request for judicial notice on November 17, 2016 (Dkt. Nos. 48-51). Tuccillo Decl. ¶8.
8
            On December 5, 2016, the Court entered an Order (Dkt. No. 52) (the “Dismissal Order”)
9
     granting Defendants’ motion to dismiss, without a hearing, while affording Plaintiffs leave to
10
     amend on or before January 6, 2017. Tuccillo Decl. ¶9.
11
            After the Court’s Dismissal Order, Lead Counsel instructed their private investigator to
12
     pursue more statements from former Hortonworks employees, to address the concerns articulated
13
     in the Dismissal Order. These efforts resulted in interviews of four additional witnesses, including
14
     former Hortonworks employees who worked in its revenue and accounting functions. Lead
15
     Counsel considered filing a further amended complaint, and would have included additional
16

17   confidential witness allegations aimed at addressing the Court’s concerns, but were concerned

18   they might not be sufficient to survive a second motion to dismiss. Id. ¶¶10-12.

19          Toward the end of the amendment period, Lead Counsel initiated settlement negotiations

20   with Settling Defendants’ counsel. These were arms’-length negotiations, over numerous emails

21   and teleconferences, during which each side pressed for the most advantageous outcome, while

22   remaining in touch with their respective clients, culminating in an oral agreement to settle the
23   Action as of December 29, 2016, and, after exchanges of drafts and redlines, an MOU was
24   executed on January 5, 2017. Id. ¶¶13-14.
25          Per the parties’ stipulation, which they filed on January 5, 2017 (Dkt. No. 53) and which
26   the Court so ordered, the deadline for Lead Plaintiff to file a further amended complaint was
27
     stayed pending the outcome of the settlement approval process. Id. ¶15.
28

                                                3
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI         Document 67        Filed 08/24/17      Page 12 of 33



1           The parties then engaged in intensive and extensive negotiations over the Stipulation of
2    Settlement.    For months, Lead Counsel and counsel for Defendants engaged in frequent
3
     telephonic and written correspondence, including exchanging extensive and detailed redlines of
4
     documents, to finalize the Stipulation and all its accompanying Exhibits. Id. ¶16. The Stipulation
5
     was finalized and executed on March 27, 2017 and filed on April 11, 2017 (Dkt. No. 59-1).
6
     Tuccillo Decl. ¶¶16-17. After the preliminary approval hearing, the parties engaged in further
7
     negotiations over revisions to the Stipulation and its exhibits to address the Court’s concerns,
8
     culminating in the filing of a revised Stipulation (Dkt. No. 65) on May 26, 2017. Id. ¶18.
9
            While Plaintiffs and Lead Counsel believe the Settlement Class has valid claims against
10
     Settling Defendants, they faced significant risks in successfully pleading and ultimately proving
11
     all elements of their claims. The Settling Defendants denied any liability or damages and would
12
     have had numerous opportunities to convince the Court, or a jury. No doubt, they would have
13
     raised such challenges at every opportunity, including a second motion to dismiss, in a motion
14
     for summary judgment, and at trial, making successful prosecution and recovery uncertain.
15
            The Settlement eliminates these risks and provides the Settlement Class with a certain
16

17   total recovery of $1,100,000.00 in cash. In light of the obstacles to recovery and the substantial

18   time and expense that continued litigation would require, Plaintiffs and Lead Counsel believe the

19   Settlement is a good result for the Settlement Class, and provides a fair and reasonable resolution

20   of the claims against the Settling Defendants.

21   III.          PRELIMINARY APPROVAL OF SETTLEMENT AND NOTICE
22          On April 28, 2017, the Court held a hearing on Plaintiffs’ motion for preliminary approval.
23   At the hearing, the Court raised certain concerns, prompting the parties to revise the Stipulation
24   and its exhibits and resubmit them for approval. On June 12, 2017, the Court issued its
25   Preliminary Approval Order, which preliminarily approved the Settlement, certified the
26
     Settlement Class for purposes of the Settlement, and directed that notice be distributed to
27
     Settlement Class Members. Tuccillo Decl. ¶¶18-19.
28

                                               4
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
               Case 3:16-cv-00980-SI         Document 67       Filed 08/24/17      Page 13 of 33



1              As required by the Court’s Preliminary Approval Order, copies of the short-form Notice
2    were sent to over 8,285 potential Settlement Class members and their nominees. See Evans Decl.
3
     ¶¶5-6. The Notice directed Settlement Class members to the Claims Administrator’s website,
4
     where the Proof of Claim and Release Form, long-form Notice, and Stipulation were posted, along
5
     with the deadlines approved by the Court. Id. ¶¶4. In addition, the Court-approved Summary
6
     Notice was published over the GlobeNewswire on July 3, 2017. Id. ¶8. To date, after this notice
7
     program, there have been zero objections to any aspect of the Settlement, and only one request
8
     for exclusion from a potential Settlement Class member, while Settlement Class members have
9
     thus far filed 1,722 claims. Id. ¶¶10-12.
10
         IV.        THE SETTLEMENT WARRANTS FINAL APPROVAL
11

12
               A.     The Standards For Judicial Approval Of Class Action Settlements
               In deciding whether to approve a proposed settlement pursuant to Fed. R. of Civ. P. 23(e),
13
     the Ninth Circuit has a “strong judicial policy that favors settlements, particularly where complex
14

15
     class action litigation is concerned.” See In re Syncor ERISA Litig., 516 F.3d 1095, 1101 (9th Cir.

16   2008).3 It is within the “sound discretion of the district courts to appraise the reasonableness of

17   particular class-action settlements on a case-by-case basis.” Evans v. Jeff D., 475 U.S. 717, 742

18   (1986). In exercising that discretion, the Ninth Circuit has considered the following factors:

19   “[T]he strength of the plaintiffs’ case; the risk, expense, complexity, and likely duration of further

20   litigation; the risk of maintaining class action status throughout the trial; the amount offered in
21   settlement; the extent of discovery completed and the stage of the proceedings; the experience
22   and views of counsel; the presence of a governmental participant; and the reaction of the class
23   members to the proposed settlement.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir.
24   1998) (quoting Officers for Justice v. Civil Serv. Comm’n of City & Cty. of San Francisco, 688
25   F.2d 615, 625 (9th Cir. 1982)); see also Lane v. Facebook, Inc., 696 F.3d 811, 819 (9th Cir. 2012)
26
     (referring to these as the “Hanlon factors”). However, “[t]he relative degree of importance to be
27

28
     3
               All internal citations and quotations are omitted, unless otherwise indicated.
                                                  5
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI          Document 67         Filed 08/24/17       Page 14 of 33



1    attached to any particular factor will depend upon and be dictated by the nature of the claim(s)
2    advanced, the type(s) of relief sought, and the unique facts and circumstances presented by each
3
     individual case.” Officers for Justice, 688 F.2d at 625. Moreover, a court need not consider all
4
     of these factors, or may consider others. In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d
5
     935, 942 (9th Cir. 2011). Accordingly, weighing the Hanlon factors is not an adjudication of the
6
     merits of the case.
7
             Additionally, when a settlement agreement is negotiated prior to formal class certification,
8
     courts must ascertain whether the parties colluded. In re LinkedIn User Privacy Litig., 309 F.R.D.
9
     573 (N.D. Cal. 2015) (citing In re Bluetooth, 654 F.3d at 946). Signs of collusion – absent here
10
     - include: (1) when class counsel receives a disproportionate distribution of the settlement, or
11
     when the class receives no monetary distribution but counsel is amply awarded; (2) when the
12
     parties negotiate a “clear sailing” deal providing for payment of attorneys’ fees separate and apart
13
     from class funds without objection by the defendant, which potentially enables a defendant to pay
14
     class counsel excessive fees and costs in exchange for accepting an unfair settlement on behalf of
15
     the class; and (3) when the parties arrange for fees not awarded to revert to defendants rather than
16

17   to be added to the class fund. Bluetooth, 654 F.3d at 947.

18           Ultimately, “[a] settlement should be approved if it is ‘fundamentally fair, adequate and

19   reasonable.’” Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993); In re Mego

20   Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000) (same). Consequently, a settlement

21   hearing is “not to be turned into a trial or rehearsal for trial on the merits,” nor should the proposed

22   settlement “be judged against a hypothetical or speculative measure of what might have been
23   achieved by the negotiators.” Officers for Justice, 688 F.2d at 625. Indeed, “it is the very
24   uncertainty of outcome in litigation and avoidance of wasteful and expensive litigation that induce
25   consensual settlements.” Id.
26           The Settlement is the product of arm’s-length negotiations between Lead Counsel and the
27
     Settling Defendants’ counsel. It was only reached after the FAC was dismissed and Plaintiffs
28
     conducted further investigation. The arm’s-length negotiations between experienced counsel on
                                                6
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI         Document 67         Filed 08/24/17      Page 15 of 33



1    both sides first took place in late December 2016 and early January 2017 and resulted in an
2    agreement in principle on December 26, 2016, an MOU executed on January 5, 2017, an original
3
     Stipulation executed on March 27, 2017, and a revised Stipulation filed on May 26, 2017.
4
     Tuccillo Decl. ¶¶11-18. As a result of these efforts, Lead Counsel negotiated a fair Settlement,
5
     taking into account the costs and risks of continued litigation, including the inherent problems of
6
     proof of, and possible defenses to, the claims asserted in the Action, as already highlighted by
7
     this Court’s Dismissal Order. Under these circumstances, Plaintiffs respectfully submit that the
8
     Settlement meets the Ninth Circuit standard for approval.
9
            B.      A Review Of The Hanlon Factors Demonstrates That The Settlement Is
10                  Fair, Reasonable, And Adequate, And Supports Final Approval
11                  1.       The Overall Strength Of Plaintiffs’ Case, Including The Risk,
                             Expense, Complexity, And Likely Duration of Further Litigation
12
            The expense, complexity, and possible duration of litigation are key factors in evaluating
13
     a settlement’s reasonableness. See, e.g., Torrisi, 8 F.3d at 1375-76 (“the cost, complexity and
14
     time of fully litigating the case” rendered the settlement fair). Lead Counsel, highly experienced
15
     in litigating and resolving complex securities class actions, carefully evaluated the merits, in light
16

17   of all risks and weaknesses, before Plaintiffs entered into the Settlement. Plaintiffs and Lead

18   Counsel made a reasoned strategic decision to settle before subjecting a further amended

19   complaint to a motion to dismiss.

20          Although Lead Counsel and Plaintiffs believed that the case was strong, based on the

21   substantial research and investigation conducted, they were cognizant of the substantial risk posed

22   to the Settlement Class in continuing this Action, particularly in light of the Dismissal Order. See
23   In re Heritage Bond Litig., No. 02-ML-1475 DT, 2005 WL 1594403, at *7 (C.D. Cal. June 10,
24   2005) (“It is known from past experience that no matter how confident one may be of the outcome
25   of litigation, such confidence is often misplaced”); see also In re Sumitomo Cooper Litig., 189
26   F.R.D. 274, 282 (S.D.N.Y. 1999) (discussing several instances where settlement was rejected by
27
     a court only to have the class’ ultimate recovery be less than the proposed settlement).
28

                                                  7
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67       Filed 08/24/17      Page 16 of 33



                            a.        PSLRA Cases Have Significant Obstacles To Success
1
            In addition to the general risks of any litigation, heightened risk existed because of the
2
     application of both Fed. R. Civ. P. 9(b) and the Private Securities Litigation Reform Act of 1995
3
     (“PSLRA”), 15 U.S.C. §78u-4, which significantly raised the standards for investors to
4

5
     successfully plead and prosecute securities class actions while imposing a mandatory discovery

6    stay pending resolution of a motion to dismiss. To succeed on their §10(b) claim, Plaintiffs would

7    have to plead and prove, inter alia, that Defendants knowingly, or with deliberate recklessness,

8    issued materially false and misleading statements and omissions of fact, that the Settlement Class

9    members relied thereon (e.g., establish class-wide reliance by the fraud-on-the-market doctrine
10   via proof of an efficient market for Hortonworks stock), and that Settlement Class Members were
11   damaged when the truth was revealed. Such pleading requirements surely would have been
12   further contested by the Settling Defendants were the Action to continue. The §20(a) control
13   person claim also faced significant hurdles of proof as regards Defendants Bearden and Davidson.
14
                                 i.      The Risk Of Establishing Falsity And Scienter
15
            Obtaining a favorable jury finding on the elements of falsity and scienter is difficult, even
16
     more so after the Dismissal Order. Plaintiffs would have to demonstrate that Defendants
17
     fraudulently misled investors, throughout the Class Period, about Hortonworks’ liquidity and its
18
     intent to and need to raise capital through a dilutive equity offering. While Plaintiffs considered
19
     filing a further amended complaint, they were concerned it might not survive a second motion to
20
     dismiss and were aware of the challenges of proving their claims at trial. Indeed, Defendants
21
     insisted that Plaintiffs could not establish that Defendants’ statements were materially false or
22
     misleading, or that they acted with scienter. Defendants also contended that their statements were
23
     protected by the PSLRA’s safe harbor because they were opinions, forward-looking, and
24
     accompanied by meaningful cautionary language.
25

26
                             ii.         The Risk Of Proving Transaction And Loss Causation
                                         And Damages
27
            Proving that the misstatements caused a significant loss for investors, and that the
28
     Settlement Class suffered damages as a result of the Settling Defendants’ misconduct, issues not
                                               8
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67       Filed 08/24/17      Page 17 of 33



1    reached by the Court in its Dismissal Order, also posed a challenge. Determining the amount of
2    losses, or that the alleged corrective disclosures and events actually caused the declines in
3
     Hortonworks’ stock, would have required complicated expert testimony and use of methodologies
4
     that are debated among economists. This would create a “‘battle of experts,’ [in which] the
5
     outcome cannot be guaranteed.” In re Amgen Sec. Litig., 07-cv-2536 PSG (PLAx), 2016 U.S.
6
     Dist. LEXIS 148577, at *7 (C.D. Cal. Oct. 25, 2016). Thus, vigorous challenges to reliance,
7
     transaction and loss causation, and damages posed a significant risk on any further motion to
8
     dismiss by the Settling Defendants, at summary judgment, trial, and on appeal. See, e.g., Hubbard
9
     v. BankAtlantic Bancorp, Inc., 688 F.3d 713, 716 (11th Cir. 2012) (jury verdict in §10(b) action
10
     reversed due to failure to prove loss causation).
11
                            b.      Continued Litigation Would Be Risky And Expensive
12
            Regardless of the ultimate outcome, there is no question that further litigation against the
13
     Settling Defendants would have been expensive and complex. It is widely acknowledged that
14
     class action litigation is inherently complex. See, e.g., Nobles v. MBNA Corp., 2009 WL 1854965,
15
     at *2 (N.D. Cal. June 29, 2009) (finding a proposed settlement proper “given the inherent
16

17   difficulty of prevailing in class action litigation”). Securities class actions, in particular, are

18   typically complex and expensive to prosecute. See, e.g., Heritage, 2005 WL 1594403, at *6.

19          Even if Plaintiffs’ further amended complaint survived a new motion to dismiss, for class

20   certification, Plaintiffs would have had to procure an expert’s declaration on the issue of market

21   efficiency (as would have the Settling Defendants). In addition to full briefing, documents would

22   have been produced and expert depositions would have been taken. Merits discovery would likely
23   have involved thousands of documents and a substantial number of depositions, including those
24   of the Settling Defendants and other Hortonworks personnel. Thereafter, the parties would
25   engage in expert discovery on questions of reliance, loss causation and damages. Expert
26   discovery and trial preparation would be expensive and complex. See Heritage, 2005 WL
27
     1594403, at *6 (class actions have a well-deserved reputation as being the most complex).
28
            Accordingly, the likely duration and expense of further litigation against the Settling
                                                9
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI         Document 67        Filed 08/24/17      Page 18 of 33



1    Defendants also supports a finding that the Settlement is fair, reasonable, and adequate. Even if
2    a class had been certified, the Settling Defendants’ likely motion(s) to dismiss and likely
3
     motion(s) for summary judgment would have made continued prosecution of the action complex,
4
     expensive, and lengthy with a more favorable outcome than the current Settlement highly
5
     uncertain. See Browne v. Am. Honda Motor Co., 2010 WL 9499072, at *11 (C.D. Cal. July 29,
6
     2010) (“Had the parties aggressively litigated class certification and tried the case, it could have
7
     consumed substantial party and court resources. There is a ‘strong judicial policy that favors
8
     settlements, particularly where complex class action litigation is concerned.’”). After trial, any
9
     appeal would be resolved by the Ninth Circuit, one of the busiest circuit courts in the nation. Thus,
10
     the present value of a certain recovery at this time, already fully funded, as opposed to the mere
11
     chance for a greater one substantially down the road, supports approval of a settlement that
12
     eliminates the expense and delay of continued litigation, as well as the risk that any further
13
     amended complaint could be dismissed again and the Settlement Class could receive no recovery.
14
             At this point, after a decision on Settling Defendants’ motion to dismiss and after intensive
15
     and extensive settlement negotiations, Plaintiffs and Lead Counsel are well aware of the strengths
16

17   and weaknesses of their case and made a readily-justified decision to avoid the additional risk,

18   delay, expense, and complexity of further litigation. See Syncor, 516 F.3d at 1101 (district court

19   abused its discretion in granting defendants’ summary judgment motion after the parties notified

20   the court of entering into a binding class action settlement); Nat’l Rural Telecomms. Coop. v.

21   DirecTV, Inc., 221 F.R.D. 523, 526 (C.D. Cal. 2004) (“[U]nless the settlement is clearly

22   inadequate, its acceptance and approval are preferable to lengthy and expensive litigation with
23   uncertain results.”).
24                   2.       The Risks Of Achieving Class Action Status And Maintaining That
                              Status Throughout Trial
25
             The Settlement Class was preliminarily certified for settlement purposes only. If not for
26
     this Settlement, the Settling Defendants would have strongly contested any motion for class
27
     certification and, if certified, would have sought every opportunity to have a certified class de-
28

                                                  10
                          MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                                PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 19 of 33



1    certified. See In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1041 (N.D. Cal. 2007) (even
2    if a class is certified, “there is no guarantee the certification would survive through trial, as
3
     Defendants might have sought decertification or modification of the class”). 4 Thus, the risks of
4
     certifying the action and maintaining certification throughout the litigation support approval.
5
                    3.       The Amount Obtained In The Settlement
6
            The determination of a “reasonable” settlement is not susceptible to a mathematical
7
     equation yielding a particularized sum. Nor is the proposed Settlement “to be judged against a
8
     hypothetical or speculative measure of what might have been achieved by the negotiators.”
9
     Officers for Justice, 688 F.2d at 625. As “[s]ettlement is the offspring of compromise[,] the
10
     question we address is not whether the final product could be prettier, smarter or snazzier, but
11
     whether it is fair, adequate and free from collusion.” Hanlon, 150 F.3d at 1027. “Naturally, the
12
     agreement reached normally embodies a compromise; in exchange for the saving of cost and
13
     elimination of risk, the parties each give up something they might have won had they proceeded
14
     with litigation.” Officers for Justice, 688 F.2d at 624. A settlement may be acceptable even if it
15
     amounts to only a fraction of the potential recovery that might be available at trial. See Mego, 213
16

17   F.3d at 459.

18          The law and public policy that favors settlements is particularly strong here where a seven-

19   figure recovery provides a favorable result, given the procedural posture of the case. In a well-

20   reasoned Dismissal Order, this Court already dismissed the Plaintiffs’ claims, without prejudice,

21   after careful consideration of detailed briefing by the parties. Additionally, while Lead Counsel

22   and its investigator did identify additional witnesses in the month permitted for further
23   amendment, Lead Counsel was not fully convinced that the outcome would be different if the
24

25

26   4
             Indeed, were a class to be certified, the Settling Defendants could petition for immediate
     interlocutory appeal pursuant to Fed. R. Civ. P. 23(f), which provides that a certification order
27   may be “altered or amended before final judgment.” See, e.g., Jenson v. Fiserv Trust Co., 256 F.
     App’x 924 (9th Cir. 2007). Thus, maintaining certification is an expensive and risky enterprise.
28   See, e.g., Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541 (2011) (reversing certification order
     obtained in 2004 and affirmed by a Ninth Circuit panel in 2007 and en banc in 2009).
                                                 11
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI          Document 67       Filed 08/24/17     Page 20 of 33



1    pleadings were amended to include their statements. These considerations strongly favored
2    entering into the Settlement while the window for further amendment remained open.
3
            It is exceedingly difficult to compare the Settlement to any theoretical amount that the
4
     Settlement Class could have potentially obtained from the Settling Defendants had it successfully
5
     defeated the anticipated motion to dismiss a further amended complaint or successfully reversed
6
     the Court’s Dismissal Order on appeal, defeated a subsequent motion for summary judgment, and
7
     ultimately established liability at trial. Such outcomes are highly speculative, particularly given
8
     the current procedural posture, and would have required years of additional efforts at high cost.
9
     During settlement negotiations, the Settling Defendants maintained that they had meritorious
10
     defenses to the claims alleged in the Action. They would have raised such challenges at every
11
     opportunity, including a second motion to dismiss, making any further successful prosecution of
12
     the Action and any theoretical recovery highly uncertain. While Plaintiffs and Lead Counsel
13
     believe their claims were meritorious, they acknowledged these considerable risks, concluding it
14
     was in the Settlement Class’s best interests to settle now. The risk that Plaintiffs would be unable
15
     to recover a greater amount further down the road as a result of litigation setbacks was carefully
16

17   considered in arriving at this Settlement.

18          The Settlement total value is $1,100,000.00 in cash. This outcome provides a fair and

19   reasonable recovery under the circumstances, providing an immediate and tangible benefit to the

20   Settlement Class that is well within a range of reasonableness in light of a possible recovery and

21   the substantial risks presented by the litigation.

22                  4.       The Extent Of Discovery Completed And Stage Of The Proceedings
23          The stage of the proceedings and the amount of information available to the parties to
24   assess strengths and weaknesses are additional factors that courts consider in determining the
25   fairness, reasonableness, and adequacy of a settlement. See Mego, 213 F.3d at 458. The parties
26   need not have engaged in extensive formal discovery, as long as they have engaged in sufficient
27
     investigation of the facts to enable them and the Court to intelligently appraise the Settlement.
28

                                                 12
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 21 of 33



1           Throughout the PSLRA-mandated discovery stay, Lead Counsel conducted a thorough
2    review of Hortonworks’s SEC filings and press releases from the Class Period, as well as other
3
     publicly-available news reports and information relating to Hortonworks. See Tuccillo Decl. ¶26.
4
     Based on this public information and on private investigation work, including interviews with
5
     confidential witnesses, Plaintiffs filed an amended complaint on July 28, 2016. After the
6
     Dismissal Order, Lead Counsel conducted additional factual investigation. Id.
7
            As a result, Lead Counsel is thoroughly familiar with the facts and had ample opportunity
8
     to assess the strengths and weaknesses of the claims, so as to appraise the settlement’s sufficiency.
9
     See, e.g., Athale v. Sinotech Energy Ltd., No. 11- CV-05831, 2013 WL 11310685 (S.D.N.Y. Sept.
10
     4, 2013) (approving Settlement of securities class action at parallel stage of proceedings). Thus,
11
     Plaintiffs and Lead Counsel did a thorough investigation before agreeing to the proposed
12
     Settlement.   During ensuing negotiations over the terms of the Settlement and, later, its
13
     documentation, the parties had ample opportunity to present the strengths of their respective cases
14
     and to hear one another’s perspectives as to weaknesses. Tuccillo Decl. ¶¶13-21.
15
            Lead Counsel and Plaintiffs gained sufficient information to negotiate and evaluate the
16

17   Settlement before more time or resources were expended on further litigation with the Settling

18   Defendants. Courts in this Circuit have recognized that, “[t]hrough protracted litigation, the

19   settlement class could conceivably extract more, but at a plausible risk of getting nothing.” In re

20   Critical Path, Inc. Sec. Litig., No. 01-cv-00551 WHA, 2002 WL 32627559, at *7 (N.D. Cal. June

21   18, 2002). As a result, courts regularly approve settlements reached relatively early in the formal

22   litigation process. See, e.g., Mego, 213 F.3d at 459 (finding that even absent extensive formal
23   discovery, class counsel’s significant investigation and research supported settlement approval);
24   Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1239 (9th Cir. 1998) (“In the context of class
25   action settlements, ‘formal discovery is not a necessary ticket to the bargaining table’ where the
26   parties have sufficient information to make an informed decision about settlement."); In re TD
27
     Ameritrade Account Holder Litig., Nos. C 07-2852 SBA, C 07-4903 SBA, 2011 WL 4079226, at
28
     *6 (N.D. Cal. Sept. 13, 2011) (approving settlement after the filing of a motion to dismiss and
                                               13
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 22 of 33



1    prior to significant discovery). For this reason, courts have commended class counsel for
2    recognizing when, as here, a prompt resolution of the matter is in the best interest of the class.
3
     See Glass v. UBS Fin. Servs., Inc., 2007 WL 221862, at *15 (N.D. Cal. Jan. 26, 2007) (“Class
4
     counsel achieved an excellent result for the class members by settling the instant action
5
     promptly.”), aff’d, 331 Fed. Appx. 452, 457 (9th Cir. 2009). In sum, the parties reached the
6
     Settlement when they were well informed as to the facts, legal issues, and risks of the Action.
7
                    5.       Experienced Counsel Negotiated The Settlement In Good Faith And
8                            At Arm’s-Length And Believe It Is Fair, Reasonable, and Adequate
9           Courts recognize that the opinion of experienced counsel supporting the settlement after
10   hard-fought negotiations is “entitled to considerable weight.” See, e.g., Elliott v. Rolling Frito-
11   Lay Sales, LP, 2014 U.S. Dist. LEXIS 83796, at *21 (C.D. Cal. June 12, 2014); Omnivision, 559
12   F. Supp. 2d at 1043 (“The recommendations of plaintiffs’ counsel should be given a presumption
13   of reasonableness.”). This makes sense, as counsel is “most closely acquainted with the facts of
14   the underlying litigation.” Heritage, 2005 WL 1594403, at *9. Lead Counsel is one of the oldest
15
     plaintiff-side securities litigation firms in the country, with decades of experience litigating
16
     securities class actions nationwide – including within this Circuit and District. Tuccillo Decl. ¶25.
17
     Ex. 3 (Lead Counsel’s firm resume). Throughout the litigation and settlement negotiations, the
18
     Settling Defendants were represented by very skilled and highly respected counsel at Morrison &
19
     Foerster LLP. “Parties represented by competent counsel are better positioned than courts to
20
     produce a settlement that fairly reflects each party’s expected outcome in litigation.” In re Pac.
21
     Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). Thus, “the trial judge, absent fraud,
22
     collusion, or the like, should be hesitant to substitute its own judgment for that of counsel.”
23
     Heritage, 2005 WL 1594403, at *9.
24
            The parties’ negotiations were thorough, and the Settlement was reached without
25
     collusion after good-faith bargaining among the parties. See Tuccillo Decl. ¶¶13-21. Through
26
     these months of effort after the Dismissal Order, Lead Counsel negotiated a fair Settlement, taking
27

28

                                                 14
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 23 of 33



1    into account the costs and risks of continued litigation, including the substantial risk that
2    Plaintiffs’ claims against Hortonworks would be again dismissed, this time with prejudice.
3
            Under the regime put in place with the enactment of the PSLRA, the Plaintiffs’ support
4
     for a settlement should be accorded “special weight because [the Plaintiffs] may have a better
5
     understanding of the case than most members of the class.” DirecTV, 221 F.R.D. at 528 (quoting
6
     Manual for Complex Litigation (Third) § 30.44 (1995)). Plaintiffs’ strong support of the
7
     Settlement, as well as the arm’s-length nature of the negotiations here, further favor its approval.
8
     See Arvidson Decl. ¶5; Monachelli Decl. ¶5.
9
                    6.       The Absence Of A Governmental Participant
10
            There was no governmental participant litigating on behalf of or alongside the Class in
11
     this Action. Without this private civil action, there would have been no recovery for the Class.
12
     Accordingly, this factor supports approval of the Settlement.
13

14
                    7.       The Overwhelmingly Positive Reaction Of The Settlement Class
            The reaction of the Settlement Class to the Settlement, which was extremely favorable
15
     here, is another factor in determining the adequacy of the Settlement. See Omnivision, 559 F.
16

17   Supp. 2d at 1043; In re Rambus Inc. Derivative Litig., No. 06-cv-3513 JF (HRL), 2009 WL

18   166689, at *3 (N.D. Cal. Jan. 20, 2009) (“[T]he absence of a large number of objections to a

19   proposed class action settlement raises a strong presumption that the terms of a proposed class

20   settlement action are favorable to the class members.”). To date, no Settlement Class member

21   has objected to the Settlement, the Plan of Allocation, Lead Counsel’s fee and expense request,

22   or Plaintiffs’ requests for compensatory awards, and only one Settlement Class member
23   requested to be excluded from the Settlement Class, despite the mailing of over 8,285 notices.5
24   See Evans Decl. ¶¶10-12. In actuality, thus far, over 1,700 Settlement Class members have
25   submitted claims so as to benefit from the Settlement recovery. Id.
26

27   5
             Consistent with In re Mercury Interactive Corp. Sec. Litig., 618 F.3d 988, 994 (9th Cir.
     2010), which requires counsel’s fee motion to be filed before the deadline for objections to afford
28   class members the opportunity to “thoroughly examine counsel’s fee motion,” the deadline for
     filing any objections is September 1, 2017.
                                                 15
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 24 of 33



                    8.       The Absence Of Collusion Among The Negotiating Parties
1
            The Settlement displays none of the Bluetooth signs of a collusive agreement. In re
2
     LinkedIn, 309 F.R.D. at 589. Here, a total recovery of $1,100,000.00 was put into interest-bearing
3
     escrow as the Settlement Consideration, out of which Lead Counsel, on behalf of all Plaintiffs’
4

5
     Counsel, is seeking an award of fees and expenses; the Settlement does not include a clear sailing

6    agreement; and any remaining funds remain in the Settlement fund to be distributed to Settlement

7    Class Members, or cy pres recipients - no amount reverts to Settling Defendants.

8      V.        NOTICE TO THE SETTLEMENT CLASS SATISFIED DUE PROCESS
9           Lead Counsel provided the Settlement Class with adequate notice of the Settlement. The
10   Claims Administrator disseminated over 8,285 copies of the Court-approved short-form Notice
11   to potential Settlement Class Members and their nominees who could be identified with
12   reasonable effort, from multiple sources. Evans Decl. ¶¶5-6. This Notice directed Settlement
13   Class Members to the Claims Administrator’s website, where the Proof of Claim and Release
14
     Form, long-form Notice, and Stipulation, along with the revised deadlines approved by the Court,
15
     were posted. Id. at ¶4. The Claims Administrator also sent 1,493 letters to Nominee Account
16
     Holders and Institutional Groups contained on a master mailing list of the 836 largest banks and
17
     brokerage companies, as well as 657 mutual funds, insurance companies, pension funds, and
18
     money managers that may have traded or owned Hortonworks common stock in their clients’ or
19
     their own accounts. Id. at ¶¶4-5. The Court-approved Summary Notice was published on the
20
     GlobeNewswire on July 3, 2017. Id. at ¶8. The Claims Administrator also sent the Depository
21
     Trust Company (“DTC”) the Notice for it to publish on the Legal Notice System (“LENS”), which
22
     provides DTC participants the ability to search and download legal notices and receive email
23
     alerts based on particular notices or CUSIPs once the legal notice is posted. Id. at ¶7. This method
24
     of notice, previously approved by the Court, is appropriate because it directed notice in a
25
     “reasonable manner to all class members who would be bound by the propos[ed judgment].” Fed.
26

27
     R. Civ. P. 23(e)(1).

28

                                                 16
                         MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                               PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI         Document 67       Filed 08/24/17      Page 25 of 33



1           The Notice program provided the necessary information for Settlement Class Members to
2    make an informed decision regarding the proposed Settlement. It informed the Settlement Class
3
     of, among other things: (1) the amount of the Settlement; (2) the reasons why the parties proposed
4
     it; (3) that Lead Counsel would apply for an award of attorneys’ fees not to exceed 28% of the
5
     Settlement Fund, litigation expenses not to exceed $50,000.00 advanced in connection with the
6
     Action up to the point of the Settlement, and compensatory awards to named Plaintiffs in the
7
     amount of $750.00 each; (4) the name, telephone number, and address of representatives of Lead
8
     Counsel available to answer questions; (5) the right of Settlement Class Members to object to the
9
     Settlement or to seek exclusion from the Settlement Class, and the consequences thereof; and (6)
10
     the dates and deadlines, as updated, for certain Settlement-related events. See Stipulation,
11
     Exhibits B1 and B2 (Dkt. Nos. 65-2 and 65-3); 15 U.S.C. § 78u-4(a)(7). It further explained that
12
     the Net Settlement Fund will be distributed to eligible Settlement Class Members who submit
13
     valid and timely Proof of Claim Forms under the Plan of Allocation, which it described. Id.
14
            The Notice program was sufficient because it “generally describes the terms of the
15
     settlement in sufficient detail to alert those with adverse viewpoints to investigate and to come
16

17   forward and be heard.” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 962 (9th Cir. 2009); see

18   also In re Wireless Facilities, Inc. Sec. Litig., 253 F.R.D. 630, 636 (S.D. Cal. 2008). It fairly

19   apprised Settlement Class Members of their rights with respect to the Settlement, was the best

20   notice practicable under the circumstances, and complied with the Court’s Preliminary Approval

21   Order, Fed. R. Civ. P. 23, the PSLRA, and due process. See, e.g., In re Immune Response Sec.

22   Litig., 497 F. Supp. 2d 1166, 1170 (S.D. Cal. 2007); In re Portal Software, Inc. Sec. Litig., 2007
23   WL 4171201, at *1 (N.D. Cal. Nov. 26, 2007) (approving similar notice program).
24
      VI.        THE PLAN OF ALLOCATION IS FAIR, REASONABLE, AND ADEQUATE
25          In the Preliminary Approval Order, the Court preliminarily approved the Notice and the
26
     Plan of Allocation. Plaintiffs now request that the Court give final approval of the Plan of
27
     Allocation, for the purpose of administering the Settlement. The Plan of Allocation was prepared
28
     with the assistance of Plaintiffs’ damages consultant and is based on an estimation as to the
                                              17
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI         Document 67         Filed 08/24/17      Page 26 of 33



1    amount of artificial inflation in the prices of Hortonworks common stock during the Class Period.
2    Tuccillo Decl. ¶24. It is substantively similar to other plans that have been approved to
3
     successfully allocate recoveries in other securities class actions. Id. Plaintiffs respectfully submit
4
     that the Plan of Allocation is fair, reasonable and adequate, and should be approved.
5
            The proposed Plan of Allocation was fully described in the long-form Notice posted on
6
     the Claims Administrator’s website, to which Settlement Class Members were directed via
7
     dissemination of the court-approved short-form Notice and the published Summary Notice, and
8
     has a rational basis. See Evans Decl. ¶¶4-5; Stipulation, Exhibits B1 (Dkt. No. 65-2) at 15-16 and
9
     C (Dkt. No. 65-4). Here, the proposed Plan of Allocation distributes the Net Settlement Fund on
10
     a pro rata basis, calculating a Claimant’s relative loss proximately caused by Defendants’ alleged
11
     false and misleading statements and material omissions, based on factors such as when and at
12
     what prices the Claimant purchased and sold Hortonworks common stock. Id.
13
            The Plan of Allocation is straightforward, as the Settlement Class Period is just over six
14
     (6) months, from August 5, 2015 through January 16, 2016. The Plan of Allocation assigns
15
     greater weighting to claims arising in the latter part of the Class Period, which are comparatively
16

17   stronger. Id. Lead Counsel formulated the Plan of Allocation with the help of a damages expert,

18   with the goal of reimbursing Settlement Class Members in a fair and reasonable manner. See

19   Stipulation, Exhibit B1 at15-16 (Dkt. No. 65-2) and D (Dkt. No. 65-5); Tuccillo Decl. ¶24; Riker

20   v. Gibbons, No. 08-cv-00115-LRH-VPC, 2010 WL 4366012, at *5 (D. Nev. Oct. 28, 2010)

21   (“Class counsel has consistently consulted with experts throughout this litigation, and based on

22   these consultations, has determined that the terms agreed upon in the settlement represent a fair,
23   adequate, and reasonable settlement of plaintiffs’ claims”).
24          Assessment of a plan of allocation in a class action “is governed by the same standards of
25   review applicable to approval of the settlement as a whole: the plan must be fair, reasonable and
26   adequate.” Omnivision, 559 F. Supp. 2d at 1045. “It is reasonable to allocate the settlement funds
27
     to class members based on the extent of their injuries or the strength of their claims on the merits.”
28
     Van Wingerden v. Cadiz, Inc., 2017 U.S. Dist. LEXIS 18800 at *25 (C.D. Cal. Feb. 8, 2017)
                                               18
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 27 of 33



1    (quoting Omnivision, 559 F. Supp. 2d at 1045); see also Nguyen v. Radient Pharms. Corp., No.
2    11-cv-00406, 2014 WL 1802293, at *5 (C.D. Cal. May 6, 2014) (“A settlement in a securities
3
     class action case can be reasonable if it fairly treats class members by awarding a pro rata share
4
     to every Authorized Claimant, but also sensibly makes interclass distinctions based upon, inter
5
     alia, the relative strengths and weaknesses of class members’ individual claims and the timing of
6
     purchases of the securities at issue.”). An allocation formula need only have a reasonable, rational
7
     basis, particularly if recommended by experienced and competent class counsel.” Id.
8
            Here, there have been no objections and only one exclusion request from any potential
9
     Settlement Class Member, despite over 8,285 notices mailed and over 1,700 claims submitted.
10
     Heritage, 2005 WL 1594403, at *39-40 (“In light of the lack of objectors to the plan of allocation
11
     at issue, and the competence, expertise, and zeal of counsel in bringing and defending the action,
12
     the Court finds the plan of allocation as fair and adequate.”). Lead Counsel therefore believes the
13
     Plan of Allocation fairly compensates Settlement Class Members and should be approved.
14

15   VII.        SETTLEMENT CLASS CERTIFICATION REMAINS WARRANTED

16          A.      The Settlement Class Satisfies The Requirements of Rule 23(a)

17          To meet the numerosity requirement of Fed. R. Civ. P. 23(a)(1), the class must be so

18   numerous that joinder of all members is impracticable. Here, over 8,285 Notices were mailed to

19   potential Class Members. Evans Decl., ¶¶5-6. Joinder of these thousands of Class Members

20   would be impracticable. Moreover, millions of Hortonworks shares were traded on the NASDAQ
21   during the Class Period, when it had 44,025,832 shares of common stock outstanding. See FAC
22   at ¶86. A class of this size is sufficiently numerous to make individual joinder impracticable. See
23   In re UTStarcom Sec. Litig., No. 04-cv-04908 JW, 2010 WL 1945737 at *4 (N.D. Cal. May 12,
24   2010); Yamner v. Boich, No. C-92-20597 RPA, 1994 WL 514035, at *3 (N.D. Cal. Sept. 15,
25   1994). Thus, the numerosity element is easily satisfied.
26
            To satisfy commonality under Fed. R. Civ. P. 23(a)(2), there must be questions of either
27
     law or fact common to the class. This requirement is readily met here, where questions common
28
     to all Class Members include: (i) whether the federal securities laws were violated by the Settling
                                               19
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 28 of 33



1    Defendants’ alleged acts; (ii) whether statements made by the Settling Defendants to the investing
2    public during the Class Period misrepresented and/or omitted material facts about Hortonworks;
3
     (iii) whether the Settling Defendants acted knowingly or recklessly in issuing any false and
4
     misleading public statements; (iv) whether the price of Hortonworks securities during the Class
5
     Period was artificially inflated by the Settling Defendants’ conduct; and (v) the extent of damages
6
     suffered by the Settlement Class and the appropriate measure for those damages. Securities
7
     actions containing common questions such as these have been held to be prime candidates for
8
     class certification.6 Additionally, because the core complaint of all Settlement Class Members is
9
     that they purchased Hortonworks shares at artificially inflated prices, the commonality
10
     requirement is satisfied.
11
            Typicality under Fed. R. Civ. P. 23(a)(3) requires that the claims or defenses of the
12
     representative parties must be typical of the class’s claims. See Amchem Prods. v. Windsor, 521
13
     U.S. 591, 625 (1997). Differences in the amount of damage, the size or manner of purchase, the
14
     nature of the purchaser, and the date of purchase are insufficient to defeat class certification. See
15
     Alfus v. Pyramid Tech. Corp., 764 F. Supp. 598, 606 (N.D. Cal. 1991). In other words, typicality
16

17   exists “even where factual distinctions exist between the claims of the named representative and

18   the other class members.” Danis v. USN Commc’ns, Inc., 189 F.R.D. 391, 395-97 (N.D. Ill. 1999);

19   see also West v. Circle K Stores, Inc., No. CIV-S-04-0438-WBS-GGH, 2006 WL 1652598, at *5

20   (E.D. Cal. June 13, 2006).

21          Plaintiffs’ claims are typical of those of the other Settlement Class Members and are based

22   on the same legal theories. See UTStarcom, 2010 WL 1945737, at *5 (test for typicality is
23

24
     6
              See UTStarcom, 2010 WL 1945737 at *4 (common questions of law and fact as to
25   whether Defendants engaged in fraudulent scheme, stock was artificially inflated, and
     misstatements and omissions caused class members to suffer economic losses). Here, there are
26   common questions of law and fact because Defendants’ alleged misconduct allegedly affected
     all Settlement Class Members in the same manner; i.e., Defendants’ false and misleading
27   statements and omissions artificially inflated the price of Hortonworks shares which, when
     corrected, damaged the Settlement Class Members. See, e.g. In re VeriSign, Inc. Sec. Litig., No.
28   02-cv-02270-JW, 2005 WL 7877645, at *10 (N.D. Cal. Jan. 13, 2005); In re Emulex Corp., Sec.
     Litig., 210 F.R.D. 717, 721 (C.D. Cal. 2002).
                                               20
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17      Page 29 of 33



1    “whether ‘other members have the same or similar injury, whether the action is based on conduct
2    which is not unique to the named plaintiffs, and whether other class members have been injured
3
     by the same course of conduct’”) (quoting Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th
4
     Cir. 1992)). Plaintiffs, like the other Settlement Class Members, purchased Hortonworks shares
5
     in the same manner and pursuant to the same alleged fraud during the same time period. See
6
     VeriSign, 2005 WL 7877645, at *10 (“Here, the issues common to the class – namely, the nature
7
     and extent of Defendants’ alleged misrepresentations and the like – are predominant.”); see also
8
     Emulex, 210 F.R.D. at 721. Moreover, Plaintiffs are not subject to any unique defenses that could
9
     make them atypical. See Hodges v. Akeena Solar, Inc., 274 F.R.D. 259, 266-67 (N.D. Cal. 2011);
10
     In re Cooper Cos. Inc. Sec. Litig., 254 F.R.D. 628, 635-36 (C.D. Cal. 2009).
11
            Finally, Plaintiffs satisfy the adequacy prong of Fed. R. Civ. P. 23(a)(4), as they have
12
     fairly and adequately protected the Settlement Class’s interests. To satisfy this requirement, a
13
     proposed class representative must be free of interests antagonistic to other class members, and
14
     counsel representing the class must be qualified, experienced and capable of conducting the
15
     litigation. See Lerwill v. Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th Cir. 1978); Hanlon,
16

17   150 F.3d at 1020. Plaintiffs’ interests in obtaining a fair, reasonable, and adequate settlement of

18   the claims asserted are consistent with those of the Settlement Class Members, since, as described

19   above, they have typical and coextensive claims, and under the proposed Plan of Allocation,

20   Plaintiffs will receive the same pro rata share of the Settlement Fund as the rest of the Settlement

21   Class. Plaintiffs are represented by highly-qualified counsel with extensive experience in

22   securities class action litigation. Plaintiffs and Lead Counsel prosecuted this Action, engaged in
23   extensive and intensive negotiations with Settling Defendants, and obtained the $1,100,000.00
24   Settlement. Plaintiffs have regularly communicated with Lead Counsel throughout the Action,
25   and have fairly and adequately protected and advanced the interests of the Settlement Class.
26   Tuccillo Decl. ¶ 33; Arvidson Decl. ¶¶ 4-5; Monachelli Decl. ¶¶ 4-5. Thus, Plaintiffs are adequate
27
     representatives of the Settlement Class, and Lead Counsel, one of the oldest plaintiff-side
28

                                               21
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI          Document 67        Filed 08/24/17       Page 30 of 33



1    securities litigation firms in the U.S. (see Tuccillo Decl. Exhibit 3) is qualified, experienced, and
2    capable of prosecuting this Action in accordance with Fed. R. Civ. P. 23(a)(4).
3
             B.      The Settlement Class Satisfies the Requirements of Rule 23(b)(3)
4
             This Action also meets the requirements of Rule 23(b)(3). Questions of law or fact
5
     common to the Settlement Class predominate over questions affecting only individual members,
6
     and a class action is the superior method of adjudication. See Erica P. John Fund, Inc. v.
7
     Halliburton Co., 563 U.S. 804, 131 S. Ct. 2179, 2184 (2011); In re LDK Solar Sec. Litig., 255
8
     F.R.D. 519. 525 (N.D. Cal. 2009); Vathana v. EverBank, No. 09-cv-02338 RS, 2010 WL 934219,
9
     at *2 (N.D. Cal. Mar. 15, 2010).
10
             “[C]ommon issues need only predominate, not outnumber individual issues.” In re Inter-
11
     Op Hip Prosthesis Liab. Litig., 204 F.R.D. 330, 345 (N.D. Ohio 2001). When certifying a class
12
     for settlement purposes only, the standards for satisfying the class certification element of
13
     “superiority” under rule 23(b)(3) are relaxed because the Court does not need to consider the
14
     difficulties of managing the class in future litigation or at trial. See, e.g., Hartless v. Clorox Co.,
15
     273 F.R.D. 630, 638 (S.D. Cal. 2011); Ybarrondo v. NCO Fin. Sys., Inc., No. 05-cv-2057-L(JMA),
16

17   2009 WL 3612864, at *7 n.3 (S.D. Cal. Oct. 28, 2009); Murillo v. Pac. Gas & Elec. Co., 266

18   F.R.D. 468, 477 (E.D. Cal. 2010).

19           As discussed above, there are a number of common questions of law and fact that would

20   warrant class certification of this matter. These questions clearly predominate over individual

21   questions because the Settling Defendants’ alleged conduct impacted all Settlement Class

22   Members in the same way. See, e.g., Cooper, 254 F.R.D. at 632 (“The common questions of
23   whether misrepresentations were made and whether Defendants had the requisite scienter
24   predominate over any individual questions of reliance and damages.”). Issues relating to the
25   Settling Defendants’ liability (including as to falsity, materiality, scienter, and loss causation) are
26   common to all Settlement Class Members. See id.; see also LDK Solar, 255 F.R.D. at 530;
27
     UTStarcom, 2010 WL 1945737, at *9; Emulex, 210 F.R.D. at 721 (“The predominant questions
28

                                               22
                       MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                             PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
             Case 3:16-cv-00980-SI        Document 67        Filed 08/24/17      Page 31 of 33



1    of law or fact at issue in this case are the alleged misrepresentations defendants made during the
2    class period and are common to the class.”).
3
             Because the Settlement Class meets the requirements of Rules 23(a) and (b)(3), there are
4
     no issues that would prevent the Court from certifying this Settlement Class for settlement
5
     purposes, appointing Plaintiffs as Settlement Class Representatives, and appointing Lead Counsel
6
     as counsel for the Settlement Class. See, e.g., Gittin v. KCI USA, Inc., No. 09-cv-05843 RS, 2011
7
     WL 1467360, at *19 (N.D. Cal. Apr. 12, 2011).
8
     VIII.         CONCLUSION
9
             The complexity of the facts at issue, the substantial expenses if this litigation were to
10
     continue to trial, and the risks attendant to prevailing against another motion to dismiss, a
11
     subsequent motion for summary judgment, trial and appeals, weigh heavily in favor of accepting
12
     a recovery of $1,100,000.00 cash now, via the Settlement, on behalf of the Settlement Class. The
13
     Settlement presents a sizable, immediate, and certain benefit to Settlement Class Members and
14

15
     Plaintiffs. Accordingly, Plaintiffs respectfully request that this Court approve the Settlement,

16   Notices, and Plan of Allocation as fair, reasonable and adequate; permanently enjoin the assertion

17   of any claim that arise from or relate to the subject matter of the Action against the Settling

18   Defendants; dismiss the Action with prejudice as to the Settling Defendants; certify the Settlement

19   Class for settlement purposes; and enter Final Judgment in the form attached as Exhibit 4 to the

20   Tuccillo Declaration (which is the same as the Proposed Order and Final Judgment previously
21   submitted to the Court as Exhibit E to the revised Stipulation on May 26, 2017 (Dkt. No. 65-6)).7
22

23

24

25

26   7
             The Court’s approval of the Plan of Allocation can be made by entry of the Proposed Order
27   appended as Exhibit 5 to the Tuccillo Declaration, which is the same as the Proposed Order
     Regarding Plan of Allocation, Award of Attorneys’ Fees and Expenses, And Plaintiff
28   Compensatory Awards, which was previously submitted to the Court as Exhibit F to the revised
     Stipulation on May 26, 2017 (Dkt. No. 65-7).
                                              23
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
           Case 3:16-cv-00980-SI     Document 67     Filed 08/24/17      Page 32 of 33



1
     Dated: August 25, 2017                 POMERANTZ LLP

2                                           By: /s/ Matthew L. Tuccillo
                                            Matthew L. Tuccillo
3                                           Jeremy A. Lieberman
4
                                            POMERANTZ LLP
                                            600 Third Avenue, 20th Floor
5                                           New York, New York 10016
                                            Telephone: (212) 661-1100
6                                           Facsimile: (212) 661-8665
7
                                            Email: migross@pomlaw.com
                                                    jalieberman@pomlaw.com
8                                                   mltuccillo@pomlaw.com
9                                           Jennifer Pafiti
10
                                            POMERANTZ LLP
                                            468 North Camden Drive
11                                          Beverly Hills, CA 90210
                                            Telephone: (818) 532-6449
12                                          E-mail: jpafiti@pomlaw.com
13
                                            Patrick V. Dahlstrom
14                                          POMERANTZ LLP
                                            10 South La Salle Street, Suite 3505
15                                          Chicago, Illinois 60603
16
                                            Telephone: (312) 377-1181
                                            Facsimile: (312) 377-1184
17                                          Email: pdahlstrom@pomlaw.com
18                                          Counsel for Plaintiffs and Proposed Lead
19
                                            Counsel for the Settlement Class

20

21

22

23

24

25

26

27

28

                                             24
                     MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                           PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
            Case 3:16-cv-00980-SI         Document 67       Filed 08/24/17      Page 33 of 33



1
                                     CERTIFICATE OF SERVICE

2           I hereby certify that this document filed through the CM/ECF system will be sent
3    electronically to the registered participants as identified on the Notice of Electronic Filing and
4
     paper copies will be sent to those indicated as non-registered participants on August 24, 2017.
5

6

7
                                                          /s/ Matthew L. Tuccillo_________
                                                          Mathew L. Tuccillo
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               1
                      MOTION FOR FINAL APPROVAL OF SETTLEMENT, CLASS CERTIFICATION, AND
                            PLAN OF ALLOCATION - Case No. 3:16-cv-00980-SI
